Case 2:21-cv-01905-RFB-NJK Document 38 Filed 02/10/22 Page 1 of 6
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                                                                                                           2:'-----
                                                                                                              this Court
                                                                                         d 10 practice before

                                                                                          11,
                             That Petitioner respectfully prays that Petitioner be admiue

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                               ---�::....------                                                s worn. dep
                                                                                                           oses    and says:
      7                                Molly M. Lens           . Petitioner. be ing !irst duly

          8             That the foregoing statements are true.

          9
                          ubscribed and sworn to be fore me thi
                                                               s
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      ll                                      F ( 6 n v ,4 ,1 'r
                         __ct__day of
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                                           � Pu� �Clerk            tr   Court
                                                                  Michael Robert Lindley Notary
                                                                                                  Public
          \-1                                                     Consular Direct Ltd
                                                                  44 Baker Street
              IS                                                  London W1U 7AJ..
                                                                                         ORNEY ADMITTED TO
              \6                          DESIGNATION OF RESIDENT ATTCONSENT THERETO.
                                             THE BAR OF TlllS          COU   RT   AND
                                                                                                                                     ioner
              \7                                                                       s of P ractice for this Court. the Petit
                                 Pursuant to the requirements of the Local Rule
              \8                                                                    to designate ___       Jo__e l_Z._ _S_cl_n_va_rz
                                                                                                                                  ___
                          believes it to be in the be st interests of the client(s)                     (name of local counsel)
               \9                                                                and previously adm i tted to practice befo re the
                          Anorney at Law. member of the State of Nevada
              20                                                                      this action. The address and email add ress of
                          above-enti tled Court as as oci ate resident counsel in
               2\
                           said designated Nevada counsel is:
               22
                                                          70\ N. Green Valley Parkway, Suite 200
               23
                                                                       (street address)
                                              Las Vegas                                           Nevada                   89074
                                               (city)                                             (state)                 (zip c ode)
                   25
                                      702-608-3 720                               jschwarz@hone. law
                   26
                             (area code + telephone number)                          (Email address)
                   27
                   28                                                             4                                              Re, 5/16
        Case 2:21-cv-01905-RFB-NJK Document 38 Filed 02/10/22 Page 5 of 6




'             By this designation th
                                    c pct111o
                                         , . ner and undersigned
                                                           .     party(1es) agrte that this dcs1gn.at1on constitutes
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                                   riution for the designated rtsidcnt 1dmittrd counsel to sign. slipufation,
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3             binding on all or us.
    4
    s                     APPOINTM[N T or DESIGNATRD RESIDENT N[\IADA COUNSEL
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    7                  The undersigned party(ics) appoint(s)                   Joel Z Schwarz
                                                                         (name ofl-Ocal courucl)
        g       his.1ieri\hcir Desi gnated Rcsiiknt N�vad                            .
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        17                                  CONSENT OP Df_.SIGNEE
                         The undcnigncd hereby consents to serve as lSS(lCiate resident Ne,,ada counsel in !his case.
        II
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        20                                            ()(signaled Re1idcnt Nevada Counsel's sign:11urc
        21                                            9181                jschwarz@hone.law
                                                      Bar number                  Em:iil address
        22
        23
                  APPROVED:
        24
                  Dated: this __ day of ______,, 20 _.
        25

        26
                  UNITED STAfts DISTRICT JUDGE
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        28                                                        s
       Case 2:21-cv-01905-RFB-NJK Document 38 Filed 02/10/22 Page 6 of 6




                                            ATTACHMENT 4



US Court of Appeals, Ninth Circuit – 10/15/2012

US District Court, Wisconsin Western - 05/07/2020

US Court of Appeals, Seventh Circuit – 09/25/2020

US District Court, California Northern – 04/19/2021
